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  7                           UNITED STATES DISTRICT COURT

  8                     CENTRAL DISTRICT OF CALIFORNIA
        RONALD E. SWEENEY, an           Case No.: 2:21-cv-01689-ODW-JC
  9     individual, AVANT GARDE         REMOVED FROM STATE COURT
 10     MANAGEMENT, INC., a California  (Los Angeles Superior Court No.
        corporation                     2OSTCV47346)
 11

 12                   Plaintiffs,                    Assigned to Hon. Otis D. Wright, II
                                                     COURTROOM 5D
 13             v.
                                                     STIPULATED PROTECTIVE
 14     DWAYNE MICHAEL CARTER JR. p/k/a              ORDER
        LIL WAYNE, an individual; YOUNG
 15     MONEY ENTERTAINMENT LLC, a                   [CHANGES MADE BY COURT TO
        Florida limited liability company; YOUNG     PARAGRAPHS 3, 8 & 9]
 16     MONEY PUBLISHING INC., a Delaware
        corporation; YOUNG MONEY RECORDS
 17     INC., a Delaware corporation; YOUNG
        MONEY VENTURES, LLC, a Delaware
 18     limited liability company; YOUNG
        MONEY TOURING, INC., a Florida
 19     corporation; and DOES 1 through 100,
        inclusive,
 20
                      Defendants.
 21
       1.    A. PURPOSES AND LIMITATIONS
 22
             Discovery in this action is likely to involve production of confidential,
 23
       proprietary, or private information for which special protection from public
 24
       disclosure and from use for any purpose other than prosecuting this litigation may be
 25
       warranted. Accordingly, the parties hereby stipulate to and petition the Court to enter
 26
       the following Stipulated Protective Order. The parties acknowledge that this Order
 27
       does not confer blanket protections on all disclosures or responses to discovery and
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  1    that the protection it affords from public disclosure and use extends only to the
  2    limited information or items that are entitled to confidential treatment under the
  3    applicable legal principles. The parties further acknowledge, as set forth in Section
  4    12.3, below, that this Stipulated Protective Order (“Order”) does not entitle them to
  5    file confidential information under seal; Local Civil Rule 79-5 sets forth the
  6    procedures that must be followed and the standards that will be applied when a party
  7    seeks permission from the court to file material under seal.
  8          B. GOOD CAUSE STATEMENT
  9          This action will involve attorney-client communications, attorney-work
 10    product, medical and health-related information, confidential agreements,
 11    competitively sensitive financial information and terms, including non-public fee
 12    and royalty information, and other valuable commercial, financial, technical and/or
 13    proprietary information for which special protection from public disclosure and from
 14    use for any purpose other than prosecution of this action or the action captioned
 15    Dwayne Michael Carter Jr. v. Ronald E. Sweeney, et al., Index No.151067/2019 (the
 16    “New York Action”) is warranted. Such confidential and proprietary materials and
 17    information consist of, among other things, confidential business or financial
 18    information, information regarding confidential business practices, or other
 19    confidential research, development, or commercial information (including
 20    information implicating privacy rights of third parties), information otherwise
 21    generally unavailable to the public, or which may be privileged or otherwise
 22    protected from disclosure under state or federal statutes, court rules, case decisions,
 23    or common law. Accordingly, to expedite the flow of information, to facilitate the
 24    prompt resolution of disputes over confidentiality of discovery materials, to
 25    adequately protect information the parties are entitled to keep confidential, to ensure
 26    that the parties are permitted reasonably necessary uses of such material in
 27    preparation for and in the conduct of trial, to address their handling at the end of the
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  1    litigation, and to serve the ends of justice, a protective order for such information is
  2    justified in this matter. It is the intent of the parties that information will not be
  3    designated as confidential for tactical reasons, and that nothing be so designated
  4    without a good faith belief that it has been maintained in a confidential, non-public
  5    manner, and there is good cause why it should not be part of the public record of this
  6    case.
  7    2.        DEFINITIONS
  8              2.1   Action: this pending federal lawsuit captioned Ronald E. Sweeney, et al.
  9    v. Dwayne Michael Carter Jr., et al, CASE NO. 2:21-cv-01689-ODW-JC.
 10              2.2   Challenging Party: a Party or Non-Party that challenges the designation
 11    of information or items under this Order.
 12              2.3   “CONFIDENTIAL” Information or Items: information (regardless of
 13    how it is generated, stored or maintained) or tangible things that qualify for
 14    protection under Federal Rule of Civil Procedure 26(c), and as specified above in the
 15    Good Cause Statement.
 16              2.4   Counsel: Outside Counsel and House Counsel (as well as their support
 17    staff).
 18              2.5   Designating Party: a Party or Non-Party that designates information or
 19    items that it (a) produces or generates in disclosures or responses to discovery
 20    (including testimony) as “CONFIDENTIAL”, or (b) receives from a Producing Party
 21    that contains “CONFIDENTIAL” Information. For the avoidance of doubt, nothing
 22    in this Order prevents a Receiving Party from designating as “CONFIDENTIAL”
 23    Disclosure or Discovery Material that is produced or generated in this Action by a
 24    Producing Party.
 25              2.6   Disclosure or Discovery Material: all items or information, regardless
 26    of the medium or manner in which it is generated, stored, or maintained (including,
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  1    among other things, testimony, transcripts, and tangible things) that are produced or
  2    generated in disclosures or responses to discovery in this Action.
  3          2.7    Expert: a person with specialized knowledge or experience in a matter
  4    pertinent to the litigation who has been retained by a Party or its counsel to serve as
  5    an expert witness or as a consultant in this Action.
  6          2.8    House Counsel: attorneys who are employees of a party to this Action.
  7    House Counsel does not include Outside Counsel or any other outside counsel.
  8          2.9    Non-Party: any natural person, partnership, corporation, association, or
  9    other legal entity not named as a Party to this Action.
 10          2.10 Outside Counsel: attorneys who are not employees of a party to this
 11    Action, but are retained to represent or advise a party to this Action, and includes
 12    support staff.
 13          2.11 Party: any party to this Action, including all of its officers, directors,
 14    employees, consultants, retained experts, managers, shareholders, and Outside
 15    Counsel.
 16          2.12 Producing Party: a Party or Non-Party that produces or generates
 17    Disclosure or Discovery Material in this Action.
 18          2.13 Professional Vendors: persons or entities that provide litigation support
 19    services (e.g., photocopying, videotaping, translating, preparing exhibits or
 20    demonstrations, and organizing, managing, storing, hosting, or retrieving data in any
 21    form or medium) and their employees, agents, and subcontractors.
 22          2.14 Protected Material: any Disclosure or Discovery Material that is
 23    designated as “CONFIDENTIAL.”
 24          2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
 25    from a Producing Party.
 26    ///
 27    ///
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  1    3.       SCOPE
  2             The protections conferred by this Order cover not only Protected Material (as
  3    defined above), but also (1) any information copied or extracted from Protected
  4    Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
  5    and (3) any deposition testimony, conversations, or presentations by Parties or their
  6    Counsel that might reveal Protected Material, other than during a court hearing or at
  7    trial.
  8             Any use of Protected Material during a court hearing or at trial shall be
  9    governed by the orders of the presiding judge. This Order does not govern the use of
 10    Protected Material during a court hearing or at trial.
 11    4.       DURATION
 12             Even after final disposition of this litigation, the confidentiality obligations
 13    imposed by this Order shall remain in effect until a Designating Party agrees
 14    otherwise in writing or a court order otherwise directs. Final disposition shall be
 15    deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
 16    or without prejudice; and (2) final judgment herein after the completion and
 17    exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 18    including the time limits for filing any motions or applications for extension of time
 19    pursuant to applicable law.
 20    5.       DESIGNATING PROTECTED MATERIAL
 21
                5.1   Exercise of Restraint and Care in Designating Material for Protection.
 22
       Each Party or Non-Party that designates information or items for protection under
 23
       this Order must take care to limit any such designation to specific material that
 24
       qualifies under the appropriate standards. The Designating Party must designate for
 25
       protection only those parts of material, documents, items, or oral or written
 26
       communications that qualify so that other portions of the material, documents, items,
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  1    or communications for which protection is not warranted are not swept unjustifiably
  2    within the ambit of this Order.
  3          Mass, indiscriminate, or routinized designations are prohibited. Designations
  4    that are shown to be clearly unjustified or that have been made for an improper
  5    purpose (e.g., to unnecessarily encumber the case development process or to impose
  6    unnecessary expenses and burdens on other parties) may expose the Designating
  7    Party to sanctions.
  8          If it comes to a Designating Party’s attention that information or items that it
  9    designated for protection do not qualify for protection, that Designating Party must
 10    promptly notify all other Parties that it is withdrawing the inapplicable designation.
 11          5.2    Manner and Timing of Designations. Except as otherwise provided in
 12    this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
 13    stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 14    under this Order must be clearly so designated before the material is disclosed or
 15    produced.
 16          Designation in conformity with this Order requires:
 17             (a) for information in documentary form (e.g., paper or electronic
 18    documents, but excluding transcripts of depositions or other pretrial or trial
 19    proceedings), that the Producing Party affix at a minimum, the legend
 20    “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
 21    contains protected material. If only a portion or portions of the material on a page
 22    qualifies for protection, the Producing Party also must clearly identify the protected
 23    portion(s) (e.g., by making appropriate markings in the margins).
 24          A Party or Non-Party that makes original documents available for inspection
 25    need not designate them for protection until after the inspecting Party has indicated
 26    which documents it would like copied and produced. During the inspection and
 27    before the designation, all of the material made available for inspection shall be
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  1    deemed “CONFIDENTIAL.” After the inspecting Party has identified the
  2    documents it wants copied and produced, the Producing Party must determine which
  3    documents, or portions thereof, qualify for protection under this Order. Then, before
  4    producing the specified documents, the Producing Party must affix the
  5    “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
  6    portion or portions of the material on a page qualifies for protection, the Producing
  7    Party also must clearly identify the protected portion(s) (e.g., by making appropriate
  8    markings in the margins).
  9             (b) for testimony given in depositions, that the Designating Party identify
 10   the Disclosure or Discovery Material on the record, before the close of the deposition,
 11   or that after the final deposition transcript has been received by Outside Counsel for
 12   the Designating Party, the Designating Party advise all other Parties to the litigation
 13   and the court reporter, in writing, of the specific page and line numbers designated
 14   “CONFIDENTIAL.” All deposition testimony shall be deemed Protected Material
 15   under this Order until 30 days after the final deposition transcript is received by
 16   Outside Counsel for the Designating Party.
 17             (c) for information produced in some form other than documentary and for
 18   any other tangible items, that the Producing Party affix in a prominent place on the
 19   exterior of the container or containers in which the information is stored the legend
 20   “CONFIDENTIAL.” If only a portion or portions of the information warrants
 21   protection, the Producing Party, to the extent practicable, shall identify the protected
 22   portion(s).
 23          5.3    Inadvertent Failures to Designate. An inadvertent failure to designate
 24    qualified information or items does not standing alone, waive the Designating Party’s
 25    right to secure protection under this Order for such material so long as the failure to
 26    designate is corrected before trial. Upon correction of a designation, the Receiving
 27
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  1    Party must make reasonable efforts to assure that the material is treated in accordance
  2    with the provisions of this Order.
  3    6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  4          6.1    Timing of Challenges. Any Party or Non-Party may challenge a
  5    designation of confidentiality at any time that is consistent with the Court’s
  6    Scheduling Order.
  7          6.2    Meet and Confer. The Challenging Party shall initiate the dispute
  8    resolution process under Local Rule 37.1 et seq.
  9          6.3    The burden of persuasion in any such challenge proceeding shall be on
 10    the Designating Party. Frivolous challenges, and those made for an improper purpose
 11    (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 12    expose the Challenging Party to sanctions. Unless the Designating Party has waived
 13    or withdrawn the confidentiality designation, all parties shall continue to afford the
 14    material in question the level of protection to which it is entitled under the Producing
 15    Party’s designation until the Court rules on the challenge.
 16    7.   ACCESS TO AND USE OF PROTECTED MATERIAL
 17
             7.1    Basic Principles. A Receiving Party may use Protected Material that is
 18
       disclosed or produced by another Party or by a Non-Party in connection with this
 19
       Action only for prosecuting, defending, or attempting to settle this Action or the New
 20
       York Action. Such Protected Material may be disclosed only to the categories of
 21
       persons and under the conditions described in this Order. When the Action has been
 22
       terminated, a Receiving Party must comply with the provisions of Section 13 below
 23
       (FINAL DISPOSITION).
 24
             Protected Material must be stored and maintained by a Receiving Party at a
 25
       location and in a secure manner that ensures that access is limited to the persons
 26
       authorized under this Order.
 27
                                                  8
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  1          7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless
  2    otherwise ordered by the court or permitted in writing by the Designating Party, a
  3    Receiving     Party   may     disclose   any   information    or    item   designated
  4    “CONFIDENTIAL” only to:
  5              (a) the Receiving Party’s Outside Counsel in this Action, as well as
  6    employees of, or other legal staff hired by, said Outside Counsel to whom it is
  7    reasonably necessary to disclose the information for this Action;
  8              (b) the officers, directors, managers, and employees (including House
  9    Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this
 10    Action;
 11              (c) Experts (as defined in this Order) of the Receiving Party to whom
 12    disclosure is reasonably necessary for this Action and who have signed the
 13    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 14              (d) the court and its personnel;
 15              (e) court reporters and their staff, and persons operating video recording
 16    equipment and their staff;
 17              (f) professional jury or trial consultants, mock jurors, and Professional
 18    Vendors to whom disclosure is reasonably necessary for this Action and who have
 19    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 20              (g) the author or recipient of a document containing the information;
 21              (h) during their depositions, witnesses, and attorneys for witnesses, in the
 22    Action to whom disclosure is reasonably necessary provided: (1) the deposing party
 23    requests that the witness sign the form attached as the “Acknowledgment and
 24    Agreement to Be Bound” (Exhibit A) hereto; and (2) they will not be permitted to
 25    keep any confidential information unless they sign the Exhibit A, unless otherwise
 26    agreed to by the Designating Party or ordered by the court. Pages of transcribed
 27    deposition testimony or exhibits to depositions that reveal Protected Material may
                                                9
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   1   be separately bound by the court reporter and may not be disclosed to anyone except
   2   as permitted under this Order;
   3            (i) any mediator or settlement officer, and their supporting personnel,
   4   mutually agreed upon by any of the parties engaged in settlement discussions; and
   5            (j) any other person who is approved by subsequent written agreement of
   6   the Parties or by order of the Court.
   7   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   8   IN OTHER LITIGATION
   9         If a Party is served with a subpoena or a court order issued in other litigation
  10   that compels disclosure of any information or items designated in this Action as
  11   “CONFIDENTIAL,” that Party must:
  12
                (a) promptly notify in writing the Designating Party. Such notification shall
  13
       include a copy of the subpoena or court order;
  14
                (b) promptly notify in writing the party who caused the subpoena or order
  15
       to issue in the other litigation that some or all of the material covered by the subpoena
  16
       or order is subject to this Order. Such notification shall include a copy of this Order;
  17
       and
  18
                (c) cooperate with respect to all reasonable procedures sought to be pursued
  19
       by the Designating Party whose Protected Material may be affected.
  20
                 If the Designating Party timely seeks a protective order, the Party served
  21
       with the subpoena or court order shall not produce any information designated in this
  22
       action as “CONFIDENTIAL” before a determination by the court from which the
  23
       subpoena or order issued, unless the Party has obtained the Designating Party’s
  24
       permission or unless otherwise required by the law or court order. The Designating
  25
       Party shall bear the burden and expense of seeking protection in that court of its
  26
       confidential material and nothing in these provisions should be construed as
  27
                                                  10
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   1   authorizing or encouraging a Receiving Party in this Action to disobey a lawful
   2   directive from another court.
   3   9.    A       NON-PARTY’S        PROTECTED           MATERIAL            SOUGHT
   4   TO BE PRODUCED IN THIS LITIGATION
   5             (a) The terms of this Order are applicable to information produced by a
   6   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
   7   produced by Non-Parties in connection with this litigation is protected by the
   8   remedies and relief provided by this Order. Nothing in these provisions should be
   9   construed as prohibiting a Non-Party from seeking additional protections.
  10             (b) In the event that a Party is required by a valid discovery request to
  11   produce a Non-Party’s confidential information in its possession, and the Party is
  12   subject to an agreement with the Non-Party not to produce the Non-Party’s
  13   confidential information, then the Party shall:
  14
                     (1) promptly notify in writing the Requesting Party and the Non-Party
  15
       that some or all of the information requested is subject to a confidentiality agreement
  16
       with a Non-Party;
  17
                     (2) promptly provide the Non-Party with a copy of the Order in this
  18
       Action, the relevant discovery request(s), and a reasonably specific description of the
  19
       information requested; and
  20
                     (3) make the information requested available for inspection by the
  21
       Non-Party, if requested.
  22
                 (c) If the Non-Party fails to seek a protective order from this court within
  23
       14 days of receiving the notice and accompanying information, the Receiving Party
  24
       may produce the Non-Party’s confidential information responsive to the discovery
  25
       request. If the Non-Party timely seeks a protective order, the Receiving Party shall
  26
       not produce any information in its possession or control that is subject to the
  27
                                                 11
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   1   confidentiality agreement with the Non-Party before a determination by the court
   2   unless otherwise required by the law or court order. Absent a court order to the
   3   contrary, the Non-Party shall bear the burden and expense of seeking protection in
   4   this court of its Protected Material.
   5   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   6         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   7   Protected Material to any person or in any circumstance not authorized under this
   8   Order, the Receiving Party must immediately (a) notify in writing the Designating
   9   Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
  10   unauthorized copies of the Protected Material, (c) inform the person or persons to
  11   whom unauthorized disclosures were made of all the terms of this Order, and (d)
  12   request such person or persons to execute the “Acknowledgment and Agreement to
  13   Be Bound” that is attached hereto as Exhibit A.
  14
       11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  15
       PROTECTED MATERIAL
  16
             When a Producing Party gives notice to a Receiving Party that certain
  17
       inadvertently produced material is subject to a claim of privilege or other protection,
  18
       the obligations of the Receiving Party are those set forth in Federal Rule of Civil
  19
       Procedure 26(b)(5)(B). Pursuant to Federal Rule of Evidence 502(d) and (e), insofar
  20
       as the Parties reach an agreement on the effect of disclosure of a communication or
  21
       information covered by the attorney-client privilege or work-product protection, the
  22
       parties may incorporate their agreement in an additional stipulated protective order
  23
       submitted to the court at a later time.
  24
       12.   MISCELLANEOUS
  25
             12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  26
       person to seek its modification by the Court in the future.
  27
                                                12
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   1         12.2 Right to Assert Other Objections. By stipulating to the entry of this
   2   Order, no Party waives any right it otherwise would have to object to disclosing or
   3   producing any information or item on any ground not addressed in this Order.
   4   Similarly, no Party waives any right to object on any ground to use in evidence any
   5   of the material covered by this Order.
   6         12.3 Filing Protected Material. A Party that seeks to file under seal any
   7   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   8   only be filed under seal pursuant to a court order authorizing the sealing of the
   9   specific Protected Material at issue. If a Party's request to file Protected Material
  10   under seal is denied by the court, then the Receiving Party may file the information
  11   in the public record unless otherwise instructed by the court.
  12         12.4 The restrictions in this Order concerning the disclosure of Protected
  13   Material shall not apply to documents and other information that have been made
  14   available to the public or obtained by the Receiving Party through sources other than
  15   from the Designating Party.
  16   13.   FINAL DISPOSITION
  17         After the final disposition of this Action, as defined in Section 4, within 60
  18   days of a written request by the Designating Party, each Receiving Party must return
  19   all Protected Material to the Producing Party or destroy such material received in
  20   this Action. As used in this subdivision, “all Protected Material” includes all copies,
  21   abstracts, compilations, summaries, and any other format reproducing or capturing
  22   any of the Protected Material. Whether the Protected Material is returned or
  23   destroyed, the Receiving Party must submit a written certification to the Producing
  24   Party (and, if not the same person or entity, to the Designating Party) by the 60 day
  25   deadline that: (1) identifies (by category, where appropriate) all the Protected
  26   Material that was returned or destroyed and (2) affirms that the Receiving Party has
  27
                                                 13
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   1   not retained any copies, abstracts, compilations, summaries or any other format
   2   reproducing or capturing any of the Protected Material. Notwithstanding this
   3   provision, Counsel are entitled to retain an archival copy of all pleadings, motion
   4   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
   5   deposition and trial exhibits, expert reports, attorney-work product, and consultant
   6   and expert work-product, even if such materials contain Protected Material. Any
   7   such archival copies that contain or constitute Protected Material remain subject to
   8   this Order as set forth in Section 4 (DURATION).
   9   14.   Any violation of this Order may be punished by any and all appropriate
  10   measures including, without limitation, contempt proceedings and/or monetary
  11   sanctions.
  12

  13   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  14

  15   DATED:____9/22/2021__________________
  16   ___/s/ Pierre Pine___________________________________
       Attorneys for Plaintiffs (*signed with permission)
  17

  18
       DATED: _____9/22/2021_________________
  19
       _____/s/ Tami Sims_________________________________
  20
       Attorneys for Defendants
  21

  22
       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  23
       DATED: October 12, 2021
  24

  25
       _______________/s/________________________
  26   Honorable Jacqueline Chooljian
  27
       United States Magistrate Judge
                                         14
  28
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   1                                         EXHIBIT A
   2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3
        I,   ________________________            [print      or     type full    name],     of
   4
        _________________ [print or type full address], declare under penalty of perjury
   5
        that I have read in its entirety and understand the Stipulated Protective Order that
   6
        was issued by the United States District Court for the Central District of California
   7
        on October 12, 2021 in the case of Ronald E. Sweeney et al. v. Dwayne Michael
   8
        Carter Jr. et al, CASE NO. 2:21-cv-01689-ODW-JC. I agree to comply with and
   9
        to be bound by all the terms of this Stipulated Protective Order (“Order”) and I
  10
        understand and acknowledge that failure to so comply could expose me to sanctions
  11
        and punishment in the nature of contempt. I solemnly promise that I will not
  12
        disclose in any manner any information or item that is subject to this Order to any
  13
        person or entity except in strict compliance with the provisions of this Order. I
  14
        further agree to submit to the jurisdiction of the United States District Court for the
  15
        Central District of California for the purpose of enforcing the terms of this Order,
  16
        even if such enforcement proceedings occur after termination of this action. I
  17
        hereby appoint ________________________ [print or type full name] of
  18
        _________ [print or type full address and telephone number] as my California
  19
        agent for service of process in connection with this action or any proceedings
  20
        related to enforcement of this Order.
  21

  22    Date: __________________________

  23    City and State where sworn and signed: _____________________________
  24
        Printed name: ____________________________________
  25

  26    Signature: ________________________________

  27
                                                  15
  28
